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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY

                                                         :
Nicholas Jones, on behalf of himself and all             :
                                                           Civil Action No.: ______
others similarly situated,                               :
                                                         :
                          Plaintiff,                     :
        v.                                               :
                                                         :
                                                           CLASS ACTION COMPLAINT
Villa Restaurant Group LLC,                              :
                                                         :
                          Defendant.                     :
                                                         :

        For this Class Action Complaint, the Plaintiff, Nicholas Jones, by undersigned counsel,

on behalf of himself and a class of similarly situated persons, alleges as follows:

                                             INTRODUCTION

        1.       Plaintiff, Nicholas Jones (“Plaintiff”), brings this class action for damages

resulting from the illegal actions of Defendant Villa Restaurant Group LLC (“Defendant” or

“VRG”).

        2.       Defendant placed repeated telemarketing text messages to Plaintiff’s cellular

telephone – over Plaintiff’s request for VRG to ‘Stop’ – in violation of the Telephone Consumer

Protection Act, 47 U.S.C. § 227, et seq. (the “TCPA”), thereby invading Plaintiff’s privacy.

        3.       VRG is a large restaurant group that oversees over 20 separate “proprietary and

partner [restaurant] brands” across 22 states, including more than 60 Villa Italian Kitchen-

branded restaurant locations across the United States.1

        4.       In an effort to promote and advertise its restaurants, VRG operates an aggressive

telemarketing campaign where it repeatedly sends text messages to telephone numbers that have

been placed on the National Do-Not-Call Registry and over the messaged party’s objections.

1
 See https://www.villarestaurantgroup.com/our-brands (last visited Feb. 3, 2022);
https://www.villaitaliankitchen.com/ (last visited Feb. 3, 2022).
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        5.      Indeed, Plaintiff’s cellular telephone has been listed on the National Do-Not-Call

Registry since 2018 yet VRG has nonetheless placed repeated telemarketing text messages to

Plaintiff advertising various promotions at Villa Italian Kitchen-branded restaurants (e.g., “get $2

off any purchase of $10 or more at participating Villa Locations” and “Buy any Whole Pie & Get

2nd Pie for 50% Off at select Villa Locations”).

        6.      Moreover, when Plaintiff messaged VRG to “Stop” sending him text messages,

VRG ignored the request and continued to inundate him with telemarketing messages.

        7.      Accordingly, Plaintiff seeks represent a class of similarly situated persons who

have also received unwanted telemarketing text messages from VRG, and to certify the

following class:

        Do Not Call Registry Class: All persons in the United States who from four
        years prior to the filing of this action (1) were sent text messages by or on behalf
        of Defendant; (2) more than one time within any 12-month period; (3) where the
        person’s telephone number had been listed on the National Do Not Call Registry
        for at least thirty days; (4) for the purpose of selling Defendant’s products and/or
        promoting Defendant’s services; and (5) where either (a) Defendant did not obtain
        prior express written consent to message the person or (b) the messaged person
        previously advised Defendant to “STOP” messaging them.

                                          JURISDICTION

        8.      This action arises out of Defendant’s repeated violations of the Telephone

Consumer Protection Act, 47 U.S.C. § 227, et. seq. (the “TCPA”) and 47 C.F.R. § 64.1200(c)(2).

        9.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) and personal

jurisdiction exists over NRG in this District because VRG is a New Jersey business with a

principal place of business in this District and a substantial portion of the acts giving rise to this

action occurred in this District.




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                                             PARTIES

       10.     Plaintiff, Nicholas Jones (“Plaintiff”), is an adult individual residing in Austin,

Texas, and is a “person” as defined by 47 U.S.C. § 153(39).

       11.     Defendant Villa Restaurant Group LLC (“VRG”), is a New Jersey business entity

with an address of 25 Washington Street, Morristown, NJ 07960, and is a “person” as defined by

47 U.S.C. § 153(39).

                       THE NATIONAL DO-NOT-CALL REGISTRY

       12.     The National Do-Not-Call Registry allows consumers to register their telephone

numbers and thereby indicate their desire not to receive telephone solicitations at those numbers.

See 47 C.F.R. § 64.1200(c)(2).

       13.     A listing on the Do-Not-Call Registry “must be honored indefinitely, or until the

registration is cancelled by the consumer or the telephone number is removed by the database

administrator.” Id.

       14.     The TCPA and implementing regulations prohibit the initiation of telephone

solicitations to residential telephone subscribers to the Do-Not-Call Registry and provides a

private right of action against any entity that initiated more than one such telephone solicitation

within any 12-month period. 47 U.S.C. § 227(c)(5); 47 C.F.R. § 64.1200(c)(2).

       15.     Telephone solicitations under 47 C.F.R. § 64.1200(c)(2) include text messages.

See Gulden v. Liberty Home Guard LLC, 2021 WL 689912, at *4–5 (D. Ariz. Feb. 23, 2021).

                                  FACTUAL ALLEGATIONS

       16.     Plaintiff’s cellular number, 512-XXX-5316, has been registered with the National

Do-Not-Call Registry since January 30, 2018.

       17.     Plaintiff uses his cellular telephone as his residential telephone number.



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         18.   Within the last year, Defendant initiated repeated telephone solicitations to

Plaintiff’s cellular telephone by sending repeated text messages marketing, advertising and

promoting Defendant’s business and services. Representative text messages are reproduced

below:




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       19.     As can be seen in the above text messages, on December 1, 2021, Plaintiff

messaged Defendant to “STOP” contacting him. Despite Plaintiff’s unequivocal instructions that

Defendant stop placing telemarketing text messages to Plaintiff, Defendant continued to place

repeated telemarketing text messages to Plaintiff’s cellular telephone thereafter, including on

December 7, 2021, December 15, 2021 and December 21, 2021.

       20.     None of Defendant’s messages to Plaintiff’s cellular were for an emergency

purpose.

       21.     Plaintiff was damaged by Defendant’s text messages. In addition to using

Plaintiff’s cellular data, phone storage, and battery life, Plaintiff’s privacy was wrongfully

invaded, and Plaintiff has become understandably aggravated with having to deal with the

frustration of repeated, unwanted text messages, forcing Plaintiff to divert attention away from

Plaintiff’s work and other activities.

                               CLASS ACTION ALLEGATIONS

A. The Class

       22.     Plaintiff brings this case as a class action pursuant to Fed. R. Civ. P. 23 on behalf

of himself and all others similarly situated.

       23.     Plaintiff represents, and is a member of the following class (the “Class”):

       Do Not Call Registry Class: All persons in the United States who from four
       years prior to the filing of this action (1) were sent text messages by or on behalf
       of Defendant; (2) more than one time within any 12-month period; (3) where the
       person’s telephone number had been listed on the National Do Not Call Registry
       for at least thirty days; (4) for the purpose of selling Defendant’s products and/or
       promoting Defendant’s services; and (5) where either (a) Defendant did not obtain
       prior express written consent to message the person or (b) the messaged person
       previously advised Defendant to “STOP” messaging them.


       24.     Defendant and its employees or agents are excluded from the Class. Plaintiff does



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not know the number of members in the Class but believes the class members number in the

several thousands, if not more. Thus, this matter should be certified as a class action to assist in

the expeditious litigation of this matter.

B. Numerosity

       25.     Upon information and belief, Defendant placed telemarketing messages to

telephone numbers registered on the National Do Not Call List belonging to thousands of

persons throughout the United States where it lacked prior express written consent to place such

message and/or such persons had previously asked Defendant to cease sending them messages.

The members of the Class, therefore, are believed to be so numerous that joinder of all members

is impracticable.

       26.     The exact number and identities of the Class members are unknown at this time

and can only be ascertained through discovery. Identification of the Class members is a matter

capable of ministerial determination from Defendant’s records.

C. Common Questions of Law and Fact

       27.     There are questions of law and fact common to the Class that predominate over

any questions affecting only individual Class members. These questions include:

               a. Whether Defendant’s messages to members of the Class were placed for

                    telemarketing purposes;

               b. Whether Defendant can meet its burden of showing it obtained prior express

                    written consent to place each telemarketing message;

               c. Whether the messages placed to Plaintiff and Class Members violate the Do

                    Not Call Registry rules and regulations;

               d. Whether Defendant’s conduct was knowing and/or willful;



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                e. Whether Defendant is liable for damages, and the amount of such damages;

                   and

                f. Whether Defendant should be enjoined from such conduct in the future.

       28.      The common questions in this case are capable of having common answers. If

Plaintiff’s claim that Defendant routinely placed telemarketing text messages to cellular

telephone numbers registered on the National Do-Not-Call Registry, and over requests to stop

the messages, is accurate, Plaintiff and the Class members will have identical claims capable of

being efficiently adjudicated and administered in this case.

D. Typicality

       29.      Plaintiff’s claims are typical of the claims of the Class members, as they are all

based on the same factual and legal theories.

E. Protecting the Interests of the Class Members

       30.      Plaintiff will fairly and adequately protect the interests of the Class and has

retained counsel experienced in handling class actions and claims involving unlawful business

practices, and specifically claims under the TCPA. Neither Plaintiff nor his counsel has any

interests which might cause them not to vigorously pursue this action.

F. Proceeding Via Class Action is Superior and Advisable

       31.      A class action is the superior method for the fair and efficient adjudication of this

controversy. The interest of Class members in individually controlling the prosecutions of

separate claims against Defendant is small because it is not economically feasible for Class

members to bring individual actions.




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                                            COUNT I
                                 VIOLATIONS OF THE TCPA
                     (47 U.S.C. § 227, et seq. and 47 C.F.R. § 64.1200(c)(2))

        32.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

        33.     Plaintiff brings this claim on behalf of himself and the Class.

        34.     47 C.F.R. § 64.1200(c)(2) provides that “No person or entity shall initiate any

telephone solicitation to . . . (2) A residential telephone subscriber who has registered his or her

telephone number on the national do-not-call registry of persons who do not wish to receive

telephone solicitations that is maintained by the Federal Government. Such do-not-call

registrations must be honored indefinitely, or until the registration is cancelled by the consumer

or the telephone number is removed by the database administrator.”

        35.     The TCPA provides a private right of action to “A person who has received more

than one telephone call within any 12-month period by or on behalf of the same entity in

violation of the regulations . . . .” 47 U.S.C. § 227(c)(5).

        36.     Defendant initiated more than one telephone solicitation text message to

telephone numbers belonging to Plaintiff and members of the Class within a 12-month period

despite the fact that Plaintiff and other class member’s telephone numbers were registered on the

National Do-Not-Call Registry at all relevant times.

        37.     Each of the aforementioned messages by Defendant constitutes a violation of the

TCPA and 47 C.F.R. § 64.1200(c)(2) by Defendant.

        38.     Plaintiff and the Class are entitled to an award of $500.00 in statutory damages

for each message sent in violation of the TCPA pursuant to 47 U.S.C. § 227(c)(5)(B).

        39.     Additionally, Plaintiff and the Class are entitled to and seek injunctive relief

prohibiting such conduct by Defendant in the future.
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       40.       Further, Plaintiff and the Class are entitled to and seek a declaration from

Defendant that:

                Defendant violated the TCPA; and

                Defendant initiated more than one telephone solicitation text message to

                 telephone numbers belonging to Plaintiff and members of the Class within a 12-

                 month period despite the fact that Plaintiff and other class member’s telephone

                 numbers were registered on the National Do-Not-Call Registry at all relevant

                 times.

                                             COUNT II
                  Willful Violations of the Telephone Consumer Protection Act,
                     (47 U.S.C. § 227, et seq. and 47 C.F.R. § 64.1200(c)(2))

       41.       Plaintiff repeats and realleges the above paragraphs of this Complaint and

incorporates them herein by reference.

       42.       Plaintiff brings this claim on behalf of himself and the Class.

       43.       Defendant knowingly and/or willfully Defendant initiated more than one

telephone solicitation text message to telephone numbers belonging to Plaintiff and members of

the Class within a 12-month period despite the fact that Plaintiff and other class member’s

telephone numbers were registered on the National Do-Not-Call Registry at all relevant times.

       44.       Each of the aforementioned messages by Defendant constitutes a knowing and

willful violation of the TCPA.

       45.       Plaintiff and the Class are entitled to an award of up to $1,500.00 in statutory

damages for each message sent in knowing and willful violation of the TCPA pursuant to 47

U.S.C. § 227(c)(5)(C).

       46.       Additionally, Plaintiff and the Class are entitled to and seek injunctive relief



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prohibiting such conduct by Defendant in the future.

       47.       Further, Plaintiff and the Class are entitled to and seek a declaration from

Defendant that:

                Defendant knowingly and/or willfully violated the TCPA;

                Defendant knowingly and/or willfully initiated more than one telephone

                 solicitation text message to telephone numbers belonging to Plaintiff and

                 members of the Class within a 12-month period despite the fact that Plaintiff and

                 other class member’s telephone numbers were registered on the National Do-Not-

                 Call Registry at all relevant times.

                It is Defendant’s practice and history to place telemarketing messages to persons

                 on the National Do-Not-Call Registry without their prior express consent.

                                      PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff prays that judgment be entered against Defendant:

                 A. Injunctive relief prohibiting such violation of the TCPA by Defendant in the

                    future pursuant to 47 U.S.C. § 227(c)(5)(A);;

                 B. Statutory damages of $500.00 for each and every message placed in violation of

                    the TCPA pursuant to 47 U.S.C. § 227(c)(5)(B);

                 C. Treble damages of up to $1,500.00 for each and every message placed in

                    violation of the TCPA pursuant to pursuant to 47 U.S.C. § 227(c)(5)(C);

                 D. An award of attorneys’ fees and costs to counsel for Plaintiff and the Class; and

                 E. Such other and further relief as may be just and proper.




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                          TRIAL BY JURY DEMANDED ON ALL COUNTS



Dated: February 4, 2022

                                    Respectfully submitted,

                                    By /s/ Sofia Balile
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